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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  Case No.__________________

 APPLE INC.,

                    Plaintiff,

         v.

 CORELLIUM, LLC,

                    Defendant.


                      COMPLAINT AND DEMAND FOR JURY TRIAL

        1.      Plaintiff Apple Inc. (“Apple”) brings this complaint against Corellium, LLC

 (“Corellium”) for copyright infringement in violation of 17 U.S.C. § 501.

                                        INTRODUCTION

        2.      This is a straightforward case of infringement of highly valuable copyrighted

 works. Corellium’s business is based entirely on commercializing the illegal replication of the

 copyrighted operating system and applications that run on Apple’s iPhone, iPad, and other Apple

 devices. The product Corellium offers is a “virtual” version of Apple mobile hardware products,

 accessible to anyone with a web browser. Specifically, Corellium serves up what it touts as a

 perfect digital facsimile of a broad range of Apple’s market-leading devices—recreating with

 fastidious attention to detail not just the way the operating system and applications appear

 visually to bona fide purchasers, but also the underlying computer code. Corellium does so with

 no license or permission from Apple.

        3.      Corellium’s conduct plainly infringes Apple’s copyrights. This is not a case in

 which it is questionable or unclear whether the defendant reproduced the rights-owner’s works,

 or more subtly, whether particular portions of the works that the defendant took are ultimately
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 protected by federal copyright law. Instead, Corellium has simply copied everything: the code,

 the graphical user interface, the icons—all of it, in exacting detail.

        4.      Corellium explicitly markets its product as one that allows the creation of

 “virtual” Apple devices. For a million dollars a year, Corellium will even deliver a “private”

 installation of its product to any buyer. There is no basis for Corellium to be selling a product

 that allows the creation of avowedly perfect replicas of Apple’s devices to anyone willing to pay.

        5.      Although Corellium paints itself as providing a research tool for those trying to

 discover security vulnerabilities and other flaws in Apple’s software, Corellium’s true goal is

 profiting off its blatant infringement. Far from assisting in fixing vulnerabilities, Corellium

 encourages its users to sell any discovered information on the open market to the highest bidder.

        6.      Apple strongly supports good-faith security research on its platforms, and has

 never pursued legal action against a security researcher. Not only does Apple publicly credit

 researchers for reporting vulnerabilities, it has created several programs to facilitate such

 research activity so that potential security flaws can be identified and corrected. Apple’s

 programs include providing as much as $1 million per report through “bug bounty” programs.

 Apple has also announced that it will provide custom versions of the iPhone to legitimate

 security researchers to allow them to conduct research on Apple devices and software. These

 efforts recognize the critical role that members of the security research community play in

 Apple’s efforts to ensure its devices contain the most secure software and systems available.

        7.      The purpose of this lawsuit is not to encumber good-faith security research, but to

 bring an end to Corellium’s unlawful commercialization of Apple’s valuable copyrighted works.

 Accordingly, Apple respectfully seeks an injunction, along with the other remedies described

 below, to stop Corellium’s acts of naked copyright infringement.




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                                            THE PARTIES

         8.      Apple Inc. is a California corporation with its principal place of business at One

 Apple Park Way, Cupertino, California 95014.

         9.      On information and belief, Corellium, LLC is a limited liability company

 registered in Delaware with its principal place of business at 630 George Bush Blvd., Delray

 Beach, Florida 33483.

                                   JURISDICTION AND VENUE

         10.     Pursuant to 28 U.S.C. § 1338(a), this Court has subject matter jurisdiction over

 Apple’s claims for relief for violations of the federal copyright statute.

         11.     This Court has personal jurisdiction over Corellium because it resides, maintains

 offices, and conducts business in this State.

         12.     Venue in this Court is proper under 28 U.S.C. § 1400(a). Corellium resides in

 this District because its principal place of business is located in this District.

                      FACTS COMMON TO ALL CLAIMS FOR RELIEF

       Apple’s Copyrighted Works

         13.     Apple is a leading designer and manufacturer of mobile communication devices,

 personal computers, and media devices. Apple sells a variety of related software, services,

 accessories and third-party digital content and applications. Apple’s products and services

 include iPhone®, Mac®, iPad®, Apple Watch®, AirPods®, AppleTV®, HomePod™, a

 portfolio of consumer and professional software applications, iOS, iPadOS™, macOS®,

 watchOS® and tvOS® operating systems, iCloud®, Apple Pay® and a variety of accessory,

 service and support offerings. Apple sells and delivers digital content through the iTunes

 Store®, App Store®, Mac App Store, TV App Store, Book Store and Apple Music®. Apple has




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 created numerous innovative technologies that have changed the face of the computer and

 telecommunications industries.

        14.     One such technology is the iOS operating system. iOS comes pre-installed on

 Apple mobile devices, including the iPhone, iPad, and iPod Touch. As the operating system for

 these mobile devices, iOS is the technological foundation for software “application” programs

 (or “apps”) that serve particular functions for end-users—from shopping to playing music and

 beyond. Both Apple and third-party programmers write and develop apps that run on iOS.

        15.     Apple has periodically created and released new versions of iOS to enhance the

 functionality and security of the operating system and the devices it runs. Apple released the

 latest major version of iOS, iOS 12, on September 17, 2018, to coincide with its release of the

 latest versions of the iPhone—iPhone XS and iPhone XS Max (both of which Apple released on

 September 21, 2018), and iPhone XR (which Apple released on October 26, 2018).

        16.     Apple also pre-installs iTunes® on its iOS devices. Apple has continually

 updated and released new versions of iTunes.

        17.     In addition to an operating system and certain applications, Apple’s mobile

 devices include a number of graphic design elements that Apple has created. These include

 background wallpaper images, icons, and other features that make iOS and iTunes visually

 attractive to consumers. These visual design elements (referred to here as “graphical user

 interface elements,” or, more formally, “GUI Elements”) are critical to the appeal of Apple’s

 products, and Apple continually updates them to account for design trends and changing tastes.

        18.     Apple owns copyrights in (i) each version of iOS, (ii) each version of iTunes, and

 (iii) the GUI Elements, including different versions of graphic icons and preinstalled background

 wallpaper images. A list of copyright registrations for the works-in-suit is provided in Exhibit A.




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 Apple registered all or virtually all of these copyrights with the U.S. Copyright Office either

 prior to Corellium’s acts of infringement, or within three months of publication.

         19.    Three additional features of Apple’s products are relevant to this action. First, in

 the course of creating and upgrading its market-leading mobile devices, Apple has spent

 significant resources developing elaborate security measures within iOS in order to protect its

 customers’ data, including embedding security features in the hardware, firmware, and software

 layers of iOS and the mobile products on which iOS is installed. To this day, Apple continues to

 invest significant resources in researching and improving the security measures in its products.

         20.    Second, Apple sells a service called the Apple Developer Program for $99 per

 year. The Apple Developer Program provides third-party developers with access to a range of

 Apple-created software development tools that allow the creation and testing of iOS apps. An

 example is TestFlight®, a development tool which allows app developers to publish “beta”

 versions of their apps to testers, who can then download and test the app for a limited period of

 time.

         21.    Third, Apple also distributes a software product called Xcode® that allows app

 developers to create and test iOS apps. Among the features of Xcode is one called “Simulator,”

 which gives an app developer the ability to test the app on a “virtual” iOS device. In addition,

 Xcode makes it possible to test apps on actual physical Apple devices. Although Xcode is

 provided without charge, use of the software requires agreement to specific and detailed terms

 and conditions of use, including agreement not to use Xcode to “decompile, reverse engineer,

 disassemble, attempt to derive the source code of, modify, decrypt, or create derivative works of”

 Apple-created software.

         22.    Through Apple’s massive investments and unparalleled innovation, iOS has




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 become one of the most widely used and distributed mobile operating systems in the world.

 Apple’s mobile products continue to lead the field, with billions of units sold.

      Corellium’s Infringing Product

        23.     Corellium has developed a product that creates exact digital replicas of Apple’s

 iOS, iTunes, and GUI Elements (referred to here as the “Corellium Apple Product”), available

 via either Corellium’s web-based platform or a privately installed, Corellium-provided platform. 1

        24.      The sole function of the Corellium Apple Product is to enable the creation of

 “virtual” iOS-operated devices, running unauthorized copies of iOS. Images and video of the

 Corellium Apple Product available online unambiguously demonstrate Corellium’s blatant

 copying of Apple’s copyrighted works. For example, the following images show, on the left, an

 image of an iPhone X taken from Apple’s website, and on the right, a “virtual” iPhone X as

 created within the Corellium Apple Product.




 1
  References to the “Corellium Apple Product” refer only to products that create virtual
 versions of iOS-operated devices. This case does not raise claims regarding Corellium-
 created products that are based on other mobile operating systems.


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        25.     Corellium openly admits that its product depends on copying of Apple’s

 content—i.e., Apple’s copyrighted works. For instance, in January 2018, Corellium published a

 post on its official Twitter account announcing the Corellium Apple Product, noting that the

 product “enables us to run virtual iPhones in the cloud,” and features the ability to “[r]un any

 version of iOS.”




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        26.      In August 2019, Corellium specifically emphasized, at the international

 cybersecurity Black Hat USA Conference, that the Corellium Apple Product is an exact copy of

 Apple’s copyrighted works, designed specifically to allow researchers and hackers to research

 and test their vulnerabilities, by “run[ing] real iOS – with real bugs that have real exploits.” In

 other words, the Corellium Apple Product is designed to enable developers to find and exploit

 flaws in iOS.




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        27.     Corellium acts quickly to copy new versions of Apple’s copyrighted works

 immediately after they are released. On September 27, 2018, within days of the announcement

 Apple’s newest iPhone models (iPhone XR, iPhone XS, and iPhone XS Max), Corellium posted

 on its official Twitter account that the Corellium Apple Product supported those new devices

 with the newest version of the iOS operating system.




        28.     Other images available online show the ease with which Corellium’s customers

 can create new “virtual” iOS devices using the Corellium Apple Product. The following series

 of images show the steps a user would take in the Corellium Apple Product to create a new

 virtual iPhone X, with a fully functioning copy of iOS 12:




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         A.    The Corellium Apple Product allows a user to pick a specific type of device to

  create a virtual version of. The image below provides the option to copy an iPhone 7 Plus,

  iPhone 8, iPhone 8 Plus, or iPhone X.




         B.    Next, the user selects a version of iOS to install on the virtual device.




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         C.    On information and belief, the Corellium Apple Product then downloads a copy of

  the appropriate version of iOS from Apple’s servers and makes it available through Corellium’s

  virtual environment.

         D.    The Corellium Apple Product can then display to users, via Corellium’s web-based

  platform or on a privately installed, Corellium-provided platform, a fully functioning, virtual

  iPhone that looks identical to an actual iPhone.




         29.     Once a user has created a “virtual” iPhone, the Corellium Apple Product allows a

  user to make multiple copies of that virtual device, and thus multiple copies of the version of iOS

  installed thereon. As a result, on information and belief, Corellium’s servers are hosting

  numerous copies of iOS.

         30.     On information and belief, the “virtual” iOS devices created by Corellium include

  fully functioning versions of iOS and iTunes.




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         31.     Far from being a product whose uses are limited to those with some salutary

  purpose, Corellium’s knock-offs, according to a February 2018 Forbes article, allow customers

  to try “whatever they want,” without regard to whether such activities are benign or malicious,

  on a virtual version of Apple’s devices. 2 That article was evidently based on interviews with

  Corellium’s founders, Amanda Gorton, Chris Wade, and David Wang, and demonstrations of the

  Corellium Apple Product.

         32.     According to the Forbes article, Ms. Gorton demonstrated that a “virtual” iPhone

  6—that is, a full reproduction of Apple’s iOS, iTunes, and GUI Elements—could be created “in

  a matter of minutes” using the Corellium Apple Product. The Forbes article also noted that the

  product can make virtual copies of “almost all iOS devices currently on the market.”

         33.     The Forbes article, and a separate article in Motherboard from the same month,

  both described a company called Azimuth Security as Corellium’s “first customer.” The

  Motherboard article reported that Azimuth sells a range of tools that exploit flaws in software.

  Azimuth’s customers reportedly include foreign governments, including foreign intelligence

  agencies. 3 Another Motherboard article from March 2019 described Corellium as “a startup that

  sells a product that allows users to create virtual instances of almost any iOS device in the




  2
   Thomas Brewster, This Super Stealth Startup Built An Apple Hacker’s Paradise, Forbes
  (Feb. 15, 2018), https://www.forbes.com/sites/thomasbrewster/
  2018/02/15/corellium-virtual-apple-iphones-for-hacking/#343d11b94a3b.
  3
   Joseph Cox and Lorenzo Franceschi-Bicchierai, How A Tiny Startup Became The Most
  Important Hacking Shop You’ve Never Heard Of, Motherboard Vice (Feb. 7, 2018),
  https://motherboard.vice.com/en_us/article/8xdayg/iphone-zero-days-inside-azimuth-
  security.


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  world,” and reports that Mr. Wade “has gotten his hands on” Apple-internal development

  iPhones. 4

         34.     In July 2018, Mr. Wade posted on his Twitter account that the Corellium Apple

  Product would be available for use at two training courses held at the Black Hat USA

  Conference in August 2018: one titled “Offensive Mobile Exploitation & Reversing,” and the

  other, “The Mobile Application Hacker’s Handbook: Live Edition.” Mr. Wade’s tweet was

  retweeted by Corellium’s official Twitter account.




         35.     In September 2018, Mr. Wade appeared on a podcast called “Risky Business” that

  described the Corellium Apple Product as being marketed to the developers of software

  “exploits”—that is, developers of code intended to exploit flaws in a third-party digital product.

  During the podcast, Mr. Wade observed that, if anyone is able to develop a particular type of

  exploit of iOS 12, “they might want to keep it to themselves, because it will be worth a lot of

  money to a lot of people.”

         36.     On information and belief, the very next month, at the Tencent Security

  Conference, Mr. Wade stated that, for $1 million per year, entities will be able to license private



  4
   Lorenzo Franceschi-Bicchierai, The Prototype iPhones That Hackers Use to Research
  Apple’s Most Sensitive Code, Motherboard Vice (Mar. 6, 2019),
  https://www.vice.com/en_us/article/gyakgw/the-prototype-dev-fused-iphones-that-
  hackers-use-to-research-apple-zero-days.


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  installations of the Corellium Apple Product. This entails installing a full version of the

  Corellium Apple Product on a customer’s premises, rather than simply giving the customer

  access to Corellium’s own cloud-based product. Such private installations of the Corellium

  Apple Product copy, modify, and display Apple’s copyrighted works.

         37.     On January 22, 2019, Corellium took its public communications about its

  flagrantly illegal activities even further, announcing on its official Twitter account that it was

  offering “on-site solutions” as an alternative to purchasing “jailbroken iPhones on eBay.”




         38.     On April 1, 2019, Corellium again highlighted the unlawful ends to which its

  product is aimed by publicly acknowledging that it had given access to its platform to the

  developers of an iOS exploit called “unc0ver,” so the developers could test the exploit “on any

  device running any firmware.” Within weeks, those developers released a new exploit of

  iOS 12. 5




  5
   Github, v3.0.0 Release, posted by pwn20wndstuff, https://github.com/pwn20wndstuff/
  Undecimus/releases (April 19, 2019).


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         39.     On information and belief, Corellium makes no effort whatsoever to confine use

  of its product to good-faith research and testing of iOS. Nor does Corellium require its users to

  disclose any software bugs they find to Apple, so that Apple may correct them. Instead,

  Corellium is selling a product for profit, using unauthorized copies of Apple’s proprietary

  software, that it avowedly intends to be used for any purpose, without limitation, including for

  the sale of software exploits on the open market. 6

         40.     Corellium’s founders publicly recognize the significant commercial opportunity

  embodied by the Corellium Apple Product. For instance, in August 2019, after Apple announced

  that it will offer custom devices lacking certain security measures to invited and trusted security

  researchers, 7 Mr. Wade noted the “serious cloud services revenue” Apple could capture, but then

  said “[it] chooses instead to build custom devices for a select few.” This is an open




  6
   In one tweet, Mr. Wade responded to an announcement by a company offering a $2
  million dollar bounty for “remote iOS jailbreaks” by suggesting that users try the
  Corellium Apple Product to find such bugs. @cmwdotme, Twitter (Jan. 7, 2018,
  7:10 AM), https://twitter.com/cmwdotme/status/1082293278840508416.
  7
   Andy Greenberg, Apple Gives Hackers A Special iPhone—and A Bigger Bug Bounty,
  Wired (Aug. 8, 2019), https://www.wired.com/story/apple-hacker-iphone-bug-bounty-
  macos/.


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  acknowledgment that a cloud-based product like Corellium’s will compete directly with the

  custom devices that Apple plans to distribute to security researchers.




           41.    Enough is enough. Apple did not and has not licensed or otherwise authorized

  Corellium to use Apple’s copyrighted works in the creation of, or as part of, the Corellium Apple

  Product.

           Corellium’s Acts of Copyright Infringement

           42.    Through its Corellium Apple Product, Corellium has engaged in and is engaging

  in the following acts of copyright infringement in violation of the Copyright Act, 17 U.S.C.

  § 501:

       A.        Corellium has created and is creating and distributing reproductions of, and is

  creating derivative works based upon, Apple’s iOS, iTunes, and GUI Elements, each of which

  are separate, independent protected works under the Copyright Act.

       B.        Corellium has publicly displayed and is publicly displaying Apple’s GUI Elements.

       C.        Corellium has and is continuing to induce, cause, and/or materially contribute to

  Corellium users’ own acts of direct copyright infringement of Apple’s copyrights in iOS, iTunes,

  and the GUI Elements. Corellium contributorily infringed and continues to contributorily

  infringe Apple’s copyrights by providing its users with access to the Corellium Apple Product,

  including by selling private installations of the Corellium Apple Product that allow users to


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  create virtual Apple devices on hardware that they control. Corellium also induced and

  continues to induce acts of direct copyright infringement by promoting and encouraging the use

  of the Corellium Apple Product to infringe Apple’s copyrights.

         43.     Corellium has no plausible defense to these acts of copyright infringement. On

  information and belief, Corellium is indiscriminately marketing the Corellium Apple Product to

  any customer, including foreign governments and commercial enterprises. Corellium is not

  selectively limiting its customers to only those with some socially beneficial purpose and/or

  those who promise to use Apple’s copyrighted works, through the Corellium Apple Product,

  only in lawful ways (though it is highly doubtful whether, under the circumstances, such uses

  actually exist). Instead, Corellium is simply unleashing Apple’s copyrighted works for the

  world-at-large to use, period.

         44.     Corellium’s purpose is plainly commercial. The Apple works whose copyrights

  Corellium is infringing are exceptionally creative. Corellium is using them wholesale, in full.

  And in so doing, it is harming the market for Apple’s copyrighted works in a variety of respects,

  including without limitation by making certain such works freely available in a manner in which

  they are otherwise accessible to developers only through the Apple Developer Program or by

  entering into agreements with Apple.

                                     FIRST CLAIM FOR RELIEF

         Direct Federal Copyright Infringement (Computer Programs), 17 U.S.C. § 501

         45.     Apple realleges and incorporates by reference each of the allegations in preceding

  paragraphs 1-44 set forth above.

         46.     Apple owns, and at all times has owned, valid and enforceable copyrights in all of

  its computer programs, including each individual version of iOS and iTunes, all of which are

  creative works of original authorship.


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         47.     Apple holds valid certificates of copyright registration from the U.S. Copyright

  Office for those computer programs that Corellium has infringed and continues to infringe for

  which Apple seeks relief in this action at present; the copyright registrations are identified, dated,

  and numbered in Exhibit A.

         48.     Corellium does not have authorization, license, or permission from Apple to

  reproduce, distribute, or create derivative works from, any of Apple’s computer programs,

  whether as part of the Corellium Apple Product or any other similar use.

         49.     Corellium is not authorized by law to engage in the acts alleged above.

         50.     Through the acts alleged above, Corellium has violated, and is continuing to

  violate, Apple’s exclusive rights in its computer programs to reproduce, distribute, and make

  derivative works from, iOS and iTunes, in violation of 17 U.S.C. §§ 106 and 501.

         51.     On information and belief, when developing, adopting, and marketing its services

  and the Corellium Apple Product, Corellium was and remains aware that each version of iOS and

  of each version of iTunes are protected by copyright, or acted and is acting in reckless disregard

  of the possibility that it was infringing and continues to infringe those copyrights. It is clear

  from Corellium’s marketing materials that Corellium purposefully copied and continues to copy

  Apple’s copyrighted versions of iOS and iTunes into the Corellium Apple Product. Thus,

  Corellium’s violations of Apple’s exclusive rights in its computer programs were and continue to

  be knowing, intentional, and willful.

                                  SECOND CLAIM FOR RELIEF

                             Direct Federal Copyright Infringement
                       (Graphical User Interface Elements), 17 U.S.C. § 501

         52.     Apple realleges and incorporates by reference all of the factual allegations set

  forth in preceding paragraphs 1-44 set forth above.



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         53.     Apple owns, and at all times has owned, valid and enforceable copyrights in the

  works of visual art embodied in the GUI Elements, including the graphic icons, preinstalled

  background wallpaper images, and all other aspects of the graphical user interface of iOS and

  iTunes, all of which are creative works of original authorship.

         54.     Apple holds valid certificates of copyright registration from the U.S. Copyright

  Office for those background wallpaper images, icons, and other graphic elements that Corellium

  has infringed and continues to infringe for which Apple seeks relief in this action at present. The

  copyright registrations are identified, dated, and numbered in Exhibit A.

         55.     Corellium does not have authorization, license, or permission from Apple to

  reproduce, distribute, or publicly display the GUI Elements.

         56.     Corellium is not authorized by law to engage in the acts alleged above.

         57.     Through the acts alleged above, Corellium has violated, and is continuing to

  violate, Apple’s exclusive rights in its works of visual art to reproduce, distribute, and publicly

  display the GUI Elements in violation of 17 U.S.C. §§ 106 and 501.

         58.     On information and belief, when developing, adopting, and marketing its services

  and the Corellium Apple Product, Corellium was and remains aware that the GUI Elements are

  protected by copyright, or acted and is acting in reckless disregard of the possibility that it is

  infringing those copyrights. It is clear from Corellium’s marketing materials that Corellium

  purposely copied and continues to copy Apple’s works of visual art in the Corellium Apple

  Product. Thus, Corellium’s violations of Apple’s exclusive rights in the GUI Elements were and

  continue to be knowing, intentional, and willful.




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                                   THIRD CLAIM FOR RELIEF

                 Contributory Federal Copyright Infringement, 17 U.S.C. § 501

         59.     Apple realleges and incorporates by reference all of the factual allegations set

  forth in preceding paragraphs 1-44 set forth above.

         60.     Apple owns, and at all times has owned, valid and enforceable copyrights in all of

  its computer programs, including each individual version of iOS and iTunes, and the works of

  visual art embodied in the GUI Elements, including the graphic icons, preinstalled background

  wallpaper images, and all other aspects of the graphical user interface of iOS and iTunes. Apple

  holds valid certificates of copyright registration from the U.S. Copyright Office for all of the

  works at issue. The copyright registrations are identified, dated, and numbered in Exhibit A.

         61.     Users of the Corellium Apple Product (including those who purchase and use

  private installations of the Corellium Apple Product) do not have authorization, license, or

  permission from Apple to reproduce, distribute, create derivative works from, or publicly display

  any of Apple’s computer programs or works of visual art.

         62.     Through the acts alleged above, users of the Corellium Apple Product are

  engaged in acts of direct copyright infringement by reproducing, distributing, making derivative

  works from, and publicly displaying Apple’s computer programs and works of visual art.

         63.     On information and belief, when developing, adopting, and marketing the

  Corellium Apple Product, Corellium was and remains aware, or willfully blind, that use of that

  product would result in the infringement of Apple’s copyrights.

         64.     Through the acts alleged above, Corellium knowingly induced, caused, and/or

  materially contributed to, and continues to induce, cause, and/or materially contribute to, the acts

  of direct infringement by its users, including by distributing and providing access to the




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  Corellium Apple Product with the object of promoting its use to infringe Apple’s copyrights.

  Accordingly, Corellium is liable for contributory copyright infringement.

                                                   PRAYER

           WHEREFORE, Apple prays for the following relief:

           A.        A permanent injunction ordering Corellium, and its officers, directors, members,

  agents, servants, employees, and attorneys, and all other persons acting in concert or

  participating with it, who receive actual notice of the injunction order by personal or other

  service, to do the following:

                1.    Cease all acts of direct and contributory copyright infringement related to iOS,

       iTunes, or any GUI Element;

                2.    Cease any marketing, sale, or other distribution of the Corellium Apple Product;

                3.    Cease all uses of the Corellium Apple Product;

                4.    Terminate all third-party access to the Corellium Apple Product;

                5.    Issue a notification to all past and present customers of the Corellium Apple

       Product, stating that use of the Corellium Apple Product infringes Apple’s copyrights.

           B.        A permanent injunction that includes all terms necessary to prevent and restrain

  infringement of Apple’s copyrighted works. 17 U.S.C. § 502(a).

           C.        An order directing Corellium to return Apple’s intellectual property, including,

  without limitation, all copyrighted software and works of visual art that Corellium took from

  Apple, as set forth in this Complaint.

           D.        An order impounding or destroying all infringing materials pursuant to 17 U.S.C.

  § 503.

           E.        An order awarding Apple actual damages and lost profits pursuant to 17 U.S.C.

  § 504(b), or in the alternative, statutory damages pursuant to 17 U.S.C. § 504(c).


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          F.       An order awarding full costs and attorney’s fees.

          G.       An order awarding Apple such other relief as the Court deems appropriate.

                                             JURY DEMAND

          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby demands a

  trial by jury.




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       Dated: August 15, 2019               Respectfully submitted,

                                     By:     /s/ Martin B. Goldberg
                                            Martin B. Goldberg
                                            Florida Bar No. 0827029
                                            mgoldberg@lashgoldberg.com
                                            rdiaz@lashgoldberg.com
                                            LASH & GOLDBERG LLP
                                            100 Southeast Second Street
                                            Miami, FL 33131
                                            (305) 347-4040 / (305) 347-4050 Fax

                                            Kathryn Ruemmler*
                                            kathryn.ruemmler@lw.com
                                            Sarang Vijay Damle*
                                            sy.damle@lw.com
                                            Elana Nightingale Dawson*
                                            elana.nightingaledawson@lw.com
                                            LATHAM & WATKINS LLP
                                            555 Eleventh Street NW, Suite 1000
                                            Washington, DC 20004
                                            (202) 637-2200 / (202) 637-2201 Fax

                                            Andrew M. Gass*
                                            andrew.gass@lw.com
                                            LATHAM & WATKINS LLP
                                            505 Montgomery Street, Suite 2000
                                            San Francisco, CA 94111
                                            (415) 391-0600 / (415) 395-8095 Fax

                                            Jessica Stebbins Bina*
                                            jessica.stebbinsbina@lw.com
                                            LATHAM & WATKINS LLP
                                            10250 Constellation Blvd., Suite 1100
                                            Los Angeles, CA 90067
                                            (424) 653-5500 / (424) 653-5501 Fax

                                            *pro hac vice applications to be submitted

                                            Attorneys for Plaintiff
                                            APPLE INC.




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